                                      UNITED STATES BANKRUPTCY COURT
                                    FOR THE EASTERN DISTRICT OF MICHIGAN
                                          SOUTHERN DIVISION-DETROIT

IN RE: John H. Thomas, Jr.
       Sandra Hyche-Thomas                                     CHAPTER 13
                                                               CASE NO: 14-58107-WSD
                          Debtor(s)                            JUDGE: Walter Shapero
___________________________________/

                                             ORDER CONFIRMING PLAN

        The debtor(s) Chapter 13 plan was duly served on all parties in interest. A hearing on confirmation of the plan
was held after due notice to parties in interest. Objections, if any, have been resolved. The Court hereby finds that
each of the requirements for confirmation of a Chapter 13 plan pursuant to 11 U.S.C. §1325(a) are met.

        Therefore, IT IS HEREBY ORDERED that the debtor(s) Chapter 13 plan, as last amended, if at all, is confirmed.

        IT IS FURTHER ORDERED that the claim of BERMAN & BISHOP, PLLC , attorneys for the debtor(s), for the
allowance of compensation and reimbursement of expenses is allowed in the total amount of $3,000.00 in fees and
$0.00 in expenses, and that the portion of such claim which has not already been paid, to-wit: $2,700.00 shall be paid
by the Trustee as an administrative expense of this case.

       IT IS FURTHER ORDERED that the debtor(s) shall maintain all policies of insurance on all property of the
debtor(s) and this estate as required by law and contract.

        All filed claims to which an objection has not been filed are deemed allowed pursuant to 11 U.S.C. §502(a), and
the Trustee is therefore ORDERED to make distributions on these claims pursuant to the terms of the Chapter 13 plan,
as well as all fees due the Clerk pursuant to statute.

   IT IS FURTHER ORDERED as follows: [Only provisions checked below apply]


 The debtor shall remit ________% of all tax refunds to which debtor(s) is entitled during the pendency of the Plan
   and shall not alter withholdings without Court approval.


 The debtor(s) Plan shall continue for no less than ________ months.

The debtor(s) Plan payments shall be increased to $850.00_ per month effective the 2nd____ day of ____March__,
2015.

 Creditors rights to object to the last filed Amended Plan are preserved until________________.

 Other: The Trustee reserves the right to object to any budget items if the Plan is ever Amended to less than 100%
dividend to class 9 unsecured creditors.




Approved:

 /s/ Tammy14-58107-mlo
          Terry              Doc 43      Filed 03/05/15     Entered 03/05/15 08:08:10         Page 1 of 2
TAMMY TERRY                                                     /s/Jack Berman
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Signed on March 05, 2015
                                                            ____ __/s/ Walter Shapero_    ___
                                                               Walter Shapero
                                                               United States Bankruptcy Judge




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